Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 1 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 2 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 3 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 4 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 5 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 6 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 7 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 8 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 9 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 10 of 11
Case 1:10-cr-20458-JEM Document 225 Entered on FLSD Docket 06/30/2011 Page 11 of 11
